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8
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9     UNITED STATES OF AMERICA
10
                               UNITED STATES DISTRICT COURT
11
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
      UNITED STATES OF AMERICA,                    No. CR 2:24-cr-00091-ODW
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                  Plaintiff,                       GOVERNMENT’S OPPOSITION TO
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                         v.                        DEFENDANT’S RENEWED
15                                                 EMERGENCY EX PARTE MOTION FOR
      ALEXANDER SMIRNOV,                           (1) PROVISION OF PAIN-REDUCING
16
                  Defendant.                       EYE DROPS, AND (2) ORDER
17                                                 SCHEDULING EYE SURGERY, OR
                                                   MEDICAL FURLOUGH
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            Defendant Alexander Smirnov (“Defendant”) filed a motion on May 10, 2024,
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      seeking the Court to order that (1) he receive eye drops immediately, and (2) his eye
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      surgery be scheduled immediately with transportation thereto. ECF No. 67 (“Def. Mot.”).
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      Alternatively, Defendant asks the Court to grant him a medical furlough so he may pursue
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      surgery with his doctor in San Francisco. Id. Upon speaking with an official from the
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      United States Marshals Service (“USMS”), the government understands that (1) Santa Ana
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      City Jail officials retrieved eye drops from Defendant because they were expired, and have
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      not provided new eye drops yet because the drops, according to the jail’s medical staff,
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      are for pre-operative care; and (2) jail officials have scheduled a surgery for Defendant
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      with a local ophthalmologist set for the last week of May 2024. For those reasons and
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1     others stated below, the Court should deny Defendant’s renewed emergency ex parte
2     motion.
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       Dated: May 13, 2024
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                                            Respectfully submitted,
5
                                            DAVID C. WEISS
6                                           Special Counsel
7
                                            /s/
8
                                            LEO J. WISE
9                                           Principal Senior Assistant Special Counsel
10                                          DEREK E. HINES
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13
                                            United States Department of Justice
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1                      MEMORANDUM OF POINTS AND AUTHORITIES
2                              I.     BACKGROUND & ARGUMENT
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            On March 11, 2024, Defendant filed a motion seeking a “medical furlough” during
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      which he would be released from custody for approximately 30 days. Specifically,
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      Defendant sought release for surgery with a doctor in San Francisco and then to attend
6
      weekly post-operative care visits. Alternatively, if his furlough was denied, Defendant
7
      asked this Court to order USMS to transport him to his surgery and post-operative visits.
8
      On March 13, 2024, the Court denied Defendant’s motion, noting the established protocol
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      for inmates to request and receive medical treatment through USMS and the local
10
      custodial facility, and concluding:     “The Court finds the established protocol is
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      reasonable, considering the limited resources of the USMS and the fact that he is presently
12
      housed in a large metropolitan area equipped with first-rate medical resources necessary
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      to address defendant’s needs while not compromising the security interests of the
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      government.” ECF No. 56. The Ninth Circuit affirmed this Court’s denial of Defendant’s
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      motion. No. 24-1133, ECF No. 14. On March 26, 2024, this Court also denied
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      Defendant’s motion for reconsideration. ECF No. 63.
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            Defendant now moves for (1) the immediate provision of eye drops, and (2) a court
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      order directing the immediate scheduling of, and transportation to, his eye surgery. In
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      furtherance of his motion, Defendant states that he currently has no access to pain-
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      reducing eye drops. Def. Mot. at 6. However, on May 13, 2024, government counsel
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      conferred with a Deputy U.S. Marshal who, based on communications with a Santa Ana
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      City Jail official, advised that jail officials retrieved expired eye drops from Defendant
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      and have not issued any new eye drops because, according to the jail’s medical staff, the
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      eye drops are for pre-operative care. Regarding eye surgery, the Deputy U.S. Marshal
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      informed government counsel that Defendant had met previously with a local
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      ophthalmologist, but USMS did not approve a medical procedure with that
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      ophthalmologist because of an unanticipated payment dispute, i.e., the ophthalmologist
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1     required payment before performing the procedure, in contravention of USMS practice.
2     Nonetheless, the Deputy U.S. Marshal advised that, based on communications with a
3     Santa Ana Jail official, Defendant now has a surgery with another local ophthalmologist
4     scheduled for the last week of May 2024. Based on the representations made by the
5     Deputy U.S. Marshal and Santa Ana Jail officials, Defendant’s motion should be denied.
6           Insofar as Defendant requests a medical furlough, that request also should be
7     denied for the reasons argued by the government in its prior briefings on this issue, see
8     ECF Nos. 54 & 62; for the reasons set forth by this Court in its previous orders denying
9     the same request, see ECF Nos. 56 & 63; and because Defendant presents a substantial
10    flight risk as recognized by both this Court and the Ninth Circuit, see ECF Nos. 15 & 46;
11    No. 24-1133, ECF No. 14.
12                                      II.    CONCLUSION
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            Based on the above, this Court should deny Defendant’s Renewed Emergency Ex
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      Parte Motion for (1) Provision of Pain-Reducing Eye Drops, and (2) Order Scheduling
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      Eye Surgery, or Medical Furlough.
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1                                   DECLARATION OF COUNSEL
2            I, Sean F. Mulryne, do hereby declare that the following statements are true and
3
       correct to the best of my knowledge and belief:
4

5            1. I am co-counsel of record for the United States of America in this case.

6            2. The assertions in the underlying brief are true and correct to the best of my
7
                knowledge and belief.
8

9            3. Undersigned counsel conferred with the United States Marshals Service
10              (“USMS”), specifically a Deputy U.S. Marshal, on May 9, 2024, and again on
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                May 13, 2024.
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13           4. The Deputy U.S. Marshal, based on communications with a Santa Ana City Jail
14              official, advised that jail officials took Mr. Smirnov’s eye drops because they
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                had expired and have not provided any new eye drops at this time because,
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17              according to the jail’s medical staff, the eye drops are for pre-operative care.
18           5. The Deputy U.S. Marshal stated that USMS did not approve Mr. Smirnov’s
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                medical procedure with a specific local ophthalmologist because the
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21              ophthalmologist required payment before the provision of services, in
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                contravention of USMS practice. Accordingly, the Deputy U.S. Marshal, based
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                on communications with a Santa Ana City Jail official, advised that Mr.
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25              Smirnov has a surgery with another local ophthalmologist scheduled for the last
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                week of May 2024.
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1                                     CERTIFICATE OF SERVICE
2            I hereby certify that on this date, I electronically filed the foregoing pleading with
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       the Clerk of the Court using the CM/ECF system, which will send notification of such
4

5      filing to the attorneys of record for Defendant.

6
      Dated: May 13, 2024                      /s/
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8                                              LEO J. WISE
                                               Principal Senior Assistant Special Counsel
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                                               DEREK E. HINES
10                                             Senior Assistant Special Counsel
11                                             SEAN F. MULRYNE
                                               CHRISTOPHER M. RIGALI
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